                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE



       DODD POWELL KING and                         )
       CHERYL A. KING,                              )
                                                    )
                      Plaintiffs,                   )
                                                    )
       v.                                           )      NO.: 2:09-CV-276
                                                    )
       ALLSTATE INSURANCE COMPANY,                  )
                                                    )
              Defendant.                            )


                                               ORDER

              This matter is before the Court to consider the Report and Recommendation of the

       United States Magistrate Judge dated November 5, 2012.              In that Report and

       Recommendation, the Magistrate Judge recommends that the defendant’s Motion for

       Sanctions pursuant to Federal Rule of Civil Procedure 37, [Doc. 23], which seeks

       sanctions, including dismissal, for failure to provide information required by Rule 26(a),

       be granted and that the suit by the plaintiff and involuntary plaintiff be dismissed. No

       objections have been filed to the Report and Recommendation.

              After careful consideration of the record as a whole, and after careful

       consideration of the Report and Recommendation of the United States Magistrate Judge,

       and for the reasons set out in that Report and Recommendation which are incorporated by

       reference herein, it is hereby ORDERED that this Report and Recommendation is




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       ADOPTED and APPROVED, [Doc. 31], that defendant’s Motion for Sanctions, [Doc.

       23], be GRANTED, and that the case be DISMISSED for failure to prosecute.

             E N T E R:

                                                       s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




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